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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                           ROME DIVISION



 TOM PALMER, derivatively on behalf
 of MOHAWK INDUSTRIES, INC.,
                                        Civil Action No.: 4:20-cv-00110-MHC
                   Plaintiff,

 v.

 JEFFREY S. LORBERBAUM,
 FRANK H. BOYKIN, GLENN R.
 LANDAU, WILLIAM
 CHRISTOPHER WELLBORN, FILIP
 BALCAEN, KAREN A. SMITH
 BOGART, BRUCE C.
 BRUCKMANN, RICHARD C. ILL,
 JOSEPH A. ONORATO, WILLIAM
 H. RUNGE III,

                   Defendants,

 and

 MOHAWK INDUSTRIES, INC.,

                   Nominal Defendant.


[Caption continues on next page]
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JOE THARAYIL, Derivatively on          Civil Action No. 4:20-cv-00185-ELR
Behalf of Mohawk Industries, Inc.,

                    Plaintiff,

v.

JEFFREY S. LORBERBAUM,
BRIAN CARSON, FRANK H.
BOYKIN, GLENN R. LANDAU,
KAREN A. SMITH BOGART, FILIP
BALCAEN, BRUCE C.
BRUCKMANN, JOSEPH A.
ONORATO, WILLIAM H. RUNGE
III, W. CHRISTOPHER WELLBORN,
and RICHARD C. ILL,

                    Defendants,

and

MOHAWK INDUSTRIES, INC., a
Delaware Corporation,

                    Nominal
                    Defendant.


             UNOPPOSED MOTION OF DERIVATIVE
        PLAINTIFFS JOE THARAYIL AND TOM PALMER FOR
          CONSOLIDATION AND APPOINTMENT OF LEAD
       COUNSEL AND MEMORANDUM IN SUPPORT THEREOF
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      In accordance with Local Rule 7.1, plaintiffs Joe Tharayil and Tom Palmer

(together, “Derivative Plaintiffs”), respectfully and through their undersigned

counsel of record, hereby submit this unopposed motion (“Motion”) for

consolidation of the above-captioned stockholder derivative actions (the “Derivative

Actions”) and for the appointment of Johnson Fistel, LLP (“Johnson Fistel”) and

Bragar Eagel & Squire, P.C. (“BES”) as Lead Counsel.1 As detailed herein, the

substantially similar facts, parties, and claims alleged by Derivative Plaintiffs in their

respective actions warrant consolidation. Additionally, the proposed Lead Counsel,

Johnson Fistel and BES, each have distinguished themselves in the area of complex

shareholder litigation over many years and are well-equipped to lead this litigation.

As such, and for the reasons stated herein, Derivative Plaintiffs respectfully request

that the Court to grant their motion.




1
  Each action names the following individual defendants: Jeffrey S. Lorberbaum,
Frank H. Boykin, Glenn R. Landau, Karen A. Smith Bogart, Filip Balacaen, Bruce
C. Bruckmann, Joseph A. Onorato, William H. Runge III, W. Christopher Wellborn,
and Richard C. Ill (together with Brian Carson, the “Individual Defendants”).
Tharayil v. Lorberbaum, et al., No. 4:20-cv-00185-ELR (the “Tharayil Action”) also
names individual defendant Brian Carson. Mohawk Industries, Inc. (“Mohawk” or
the “Company”) is named as a nominal defendant in both actions.
                                            1
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I.    FACTUAL AND PROCEDURAL BACKGROUND

      A.     Factual Background

      Mohawk, a Delaware corporation headquartered in Calhoun, Georgia, is the

world’s largest manufacturer of conventional flooring products, such as carpet, tile,

stone, and wood, with its Flooring North America segment as its largest, which

offers floor covering product lines, including carpets, rugs, laminate, hardwood

flooring, sheet vinyl, and Luxury Vinyl Tile (“LVT”). See ECF. No. 1, Tharayil

Action Verified Shareholder Derivative Complaint (“Tharayil Compl.”), ¶¶1, 29;

Palmer v. Lorberbaum, et al., No. 4:20-cv-00110-MHC (N.D. Ga.) (the Palmer

Action), filed May 18, 2020, at ECF. No. 1, Verified Shareholder Derivative

Complaint (“Palmer Compl.” and together with the Tharayil Compl., the

“Complaints”), ¶¶2, 20. Recently, consumers worldwide have increasingly opted to

use LVT as an alternative to more traditional wood floor coverings because it is

waterproof, lasts longer, and is less expensive to install than traditional flooring

products, but still looks like wood, stone, or ceramic tile. Tharayil Compl., ¶3;

Palmer Compl., ¶4. In a short amount of time, LVT has gone from a relatively

unknown product to comprising approximately 15% of all flooring sales in the

United States. Tharayil Compl., ¶¶4, 47-48; Palmer Compl., ¶¶5, 42.




                                         2
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      The Complaints allege that Defendants caused or otherwise allowed the

Company to mislead investors and the market by publicly misstating or failing to

disclose, among other things: (i) Mohawk’s reported record quarterly sales were

artificially inflated by the “Saturday Scheme”; (ii) Mohawk’s warehouses were filled

with LVT that could not be sold or which was returned since much of Mohawk’s

U.S.-made LVT was unsalable scrap, which the Company nonetheless carried in

inventory and refused to write off; and (iii) Mohawk was performing unnecessarily

long production runs to lower the per-unit cost of production and increased margins,

even though there was insufficient demand for the finished products. Tharayil

Compl., ¶¶16, 54-59, 60-63; Palmer Compl., ¶¶47-57, 58-65.

      The Complaints allege that, as a result of the foregoing, the Company’s stock

traded at an artificially high price. Tharayil Compl., ¶17; Palmer Compl., ¶76.

Additionally, according to the Tharayil Complaint, while the Company’s stock price

was artificially inflated, certain Individual Defendants allegedly exploited their

positions as corporate fiduciaries of the Company and sold their personal stock

holdings for millions of dollars in insider profits while in possession of material,

adverse, and non-public information regarding the Company’s operations and

business prospects, while at the same time approving and executing a $443M share

repurchase plan. Tharayil Compl., ¶¶18, 31, 33, 69-70.


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      The Complaints further allege that on April 28, 2017, Mohawk hosted a

conference call with investors to discuss the status of its business and its financial

results for the first quarter of 2017 during which it touted “record” sales and

operating margins, each attributed to legitimate business factors. Tharayil Compl.,

¶¶73-83; Palmer Compl., ¶¶47-49. According to the Complaints, on July 28, 2017,

Mohawk hosted another conference call with investors to discuss the status of its

business and its financial results for the second quarter of 2017, during which the

Company again announced all-time record sales and attributed its quarterly net sales

gain to solely legitimate business factors, while attributing the Company’s rising

inventory and slow turnover to “chasing demand.” Tharayil Compl., ¶¶84-94;

Palmer Compl., ¶¶50-51. The Complaints allege that Mohawk would host several

more conference calls and issue press releases that continued to mask the deceptive

and unsustainable business practices to hide declining customer demand for its

conventional flooring products. Tharayil Compl., ¶¶95-150; Palmer Compl., ¶¶52-

57.

      The Complaints allege that the truth about the Company’s growth and

business practices began to emerge on July 26, 2018, when Mohawk announced a

substantial EPS miss from its own guidance, attributed to lower than anticipated

sales and margins.     Tharayil Compl., ¶¶152-157; Palmer Compl., ¶58.           The


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disclosures from July 26, 2018 and onward allegedly contradicted the statements

made by the Company’s senior officers on the previous earnings calls, during which

Defendant Lorberbaum and other executives had assured investors and analysts that

the Company’s inventory and production issues had already been addressed, and that

Mohawk was seeing record sales. Tharayil Compl., ¶¶151-166; Palmer Compl.,

¶59-65.

      The Complaints allege that as a result of Defendants’ alleged misconduct, the

Company’s stock price has deteriorated, erasing $9 billion in market capitalization

and irreparably damaging Mohawk’s corporate image and goodwill.              Tharayil

Compl., ¶¶166-167; Palmer Compl., ¶¶66-68.

      B.     Procedural Background

      The Palmer Action, filed on May 18, 2020, and the Tharayil Action, filed on

August 6, 2020, are brought by the Derivative Plaintiffs on behalf of nominal

defendant Mohawk against Defendants.2         Derivative Plaintiffs allege that the

Individual Defendants, inter alia, breached their fiduciary duties to the Company by

making false and misleading statements to stockholders, thereby artificially inflating

the Company’s stock price and, with respect to certain Individual Defendants, by


2
 Defendants have agreed to waive service of the Summonses and Complaint in both
Derivative Actions, but expressly reserve all of their defenses to the claims asserted
by Derivative Plaintiffs.
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engaging in misappropriation of corporate information and unlawful insider trading

of personal Mohawk stock holdings. Derivative Plaintiffs further assert that a

stockholder demand to bring the asserted claims is excused as futile.

II.   ARGUMENT

      A.     The Derivative Actions Should Be Consolidated

      Derivative Plaintiffs request that this Court consolidate the two Derivative

Actions—the Tharayil Action and the Palmer Action—under Fed. R. Civ. P. 42(a),

which provides that “[i]f actions before the court involve a common question of law

or fact, the court may: (1) join for hearing or trial any or all matters at issue in the

actions; (2) consolidate the actions; or (3) issue any other orders to avoid

unnecessary cost or delay.” The power to consolidate related actions falls within the

authority of every court “to control the disposition of the causes on its docket with

economy of time and effort for itself, for counsel, and for litigants.” Landis v. N.

Am. Co., 299 U.S. 248, 254 (1936); see also Sumter v. Quality Project, LLC, No.

CV416-108 at *1 (S.D. Ga. May 18, 2016) (citing Hargett v. Valley Fed. Sav. Bank,

60 F.3d 754, 765-66 (11th Cir. 1995) (“The proper solution to problems created by

the existence of two or more cases involving the same parties and issues,

simultaneously pending in the same court would be to consolidate them under Rule

42(a).”); Liberacki v. Kroger Co., No. 1:13-CV-00059-JCF, 2013 WL 12065414, at


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*2 (N.D. Ga. Aug. 20, 2013) (where “[t]here is no dispute that the two actions

involve the same occurrence, . . . they share the common legal and factual overlap

that frequently makes consolidation appropriate . . . [and] the most efficient way to

proceed”).

      Courts have recognized that consolidation of similar shareholder derivative

actions can be particularly beneficial, helping to “avoid needless duplication of time,

effort and expense . . . in discovery and at trial.” Millman v. Brinkley, Nos. 1:03-cv-

3831-WSD, 1:03-cv-3832-WSD, 1:04-cv-0058-WSD, 2004 WL 2284505, at *2

(N.D. Ga. Oct. 1, 2004) (citing In re Air Crash Disaster at Fla. Everglades, 549 F.2d

1006, 1014 (5th Cir. 1977)). Furthermore, “[w]hen consolidation is appropriate, it

is also appropriate to order future consolidation of any later filed similar shareholder

derivative action.” Millman, 2004 WL 2284505, at *2.

      Consolidation is clearly appropriate here. The Derivative Plaintiffs have each

filed shareholder derivative actions on behalf of Mohawk against the same

Defendants. Both Derivative Actions allege claims for breach of fiduciary duties,

waste of corporate assets, and unjust enrichment arising out of the same conduct.

The Derivative Actions further raise common questions of law and fact, and

discovery in each matter will be substantially similar, thus avoiding duplication of

effort by the parties. See Millman, 2004 WL 2284505, at *2. Consolidating the


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Derivative Actions would streamline and simplify pretrial motions, discovery

proceedings, and clerical and administrative management, and generally reduce the

confusion and delay that would result by separately prosecuting related cases of this

nature. See Moore’s Federal Practice §§ 20-22 (3d ed. 1995). And because

Defendants do not oppose consolidation, there is no risk of prejudice to any party.

Thus, the Derivative Actions should be consolidated under Fed. R. Civ. P. 42(a).3

      Derivative Plaintiffs respectfully submit that if the Derivative Actions are

consolidated, every pleading filed in the consolidated case (the “Consolidated

Derivative Action”), or any separate action included herein, should bear the

following caption:




3
  Although consolidation of the Derivative Actions is appropriate under Fed. R. Civ.
P. 42(a), these actions are not suitable for consolidation with the securities class
action lawsuit filed against the Company and certain of its senior executives in this
Court, captioned: Public Employee’s Retirement System of Mississippi v. Mohawk
Industries, Inc., et al., No. 4:20-cv-00005-ELR (N.D. Ga.) (filed January 3, 2020)
(the “Related Securities Class Action”). Shareholder derivative actions and
securities fraud class actions do not involve common questions of law and fact for
purposes of consolidation, despite some overlap in parties, subject matter, or issues.
See, e.g., Molever v. Levenson, 539 F.2d 996, 1003 (4th Cir. 1976) (holding that
consolidation of a securities action, a derivative action, and a defamation action did
not comport with the aim of Fed. R. Civ. P. 42(a) and the effects of the consolidation
were “severely harmful and so serious as to require vacation of the verdicts and
reversal of the judgments in this segment of the litigation”).
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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                            ROME DIVISION
IN RE MOHAWK INDUSTRIES, INC. ) Lead Case No.: 4:20-cv-00110-MHC
DERIVATIVE LITIGATION         )
                              ) (Derivative Action)
This Document Relates To:     )
                              )
          ALL ACTIONS.        )
                              )
                              )

      Further, Derivative Plaintiffs propose that the files of the Consolidated

Derivative Action be maintained in one master file, under Lead Case No. 4:20-cv-

00110-MHC. Finally, Derivative Plaintiffs submit that if consolidation is granted,

the order granting consolidation should apply to each case arising out of the same,

or substantially the same, transactions or events as the Consolidated Derivative

Action, which is subsequently filed in, removed to, or transferred to this Court.

      B.     The Court Should Appoint Johnson Fistel and BES as Lead
             Counsel

      It is well-established that a court which has consolidated related actions before

it may also appoint counsel to direct, manage, and prosecute a complex case. See

9A Charles A. Wright and Arthur R. Miller, Federal Practice and Procedure § 2385

Consolidation – Proceedings in Consolidated Cases (3d ed. 2008); Millman, 2004

WL 2284505, at *3 (citing Dollens v. Zionts, Nos. 01 C 5931, 01 C 2826, 2001 WL

1543524, at *5 (N.D. Ill. Dec. 4, 2001)); see also In re Showa Denko K.K., 953 F.2d
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162, 165 (4th Cir. 1992) (“multiplicity of suits requires that the district court be

allowed to combine procedures, appoint lead counsel, recognize steering committees

of lawyers, limit and manage discovery, etc. to minimize expense to all litigants and

to provide judicial efficiency”) (citing Manual For Complex Litigation, §§ 33.22,

33.25 (2d ed. 1985)). Furthermore, the Manual For Complex Litigation recognizes

the benefits of appointing lead counsel in complex, multiparty litigation:

      Complex litigation often involves numerous parties with common or
      similar interests but separate counsel. Traditional procedures in which
      all papers and documents are served on all attorneys, and each attorney
      files motions, presents arguments, and examines witnesses, may waste
      time and money, confuse and misdirect the litigation, and burden the
      court unnecessarily. Instituting special procedures for coordination of
      counsel early in the litigation will help to avoid these problems.

Manual for Complex Litigation, § 10.22 (4th ed. 2004), Coordination in Multiparty

Litigation – Lead/Liaison Counsel and Committees.4




4
  See Iron Workers Mid-South Pension Fund v. Oberhelman, No. 1:13-cv-01104-
SLD-JAG, 2014 WL 5801508, at *2 (C.D. Ill. Nov. 7, 2014) (in shareholder
derivative actions, court may “appoint a lead counsel only, on the theory that the
action is filed on behalf of the company, not a particular plaintiff”); see also In re
Comverse Tech., Inc. Derivative Litig., No. 06-CV-1849 (NGG) (RER), 2006 WL
3761986, at *1 (E.D.N.Y. Sept. 22, 2006) (“[m]any courts . . . have consolidated
derivative actions, appointed lead counsel, but have not appointed a lead plaintiff.”).



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      In selecting lead counsel, the “guiding principle” is who will “best serve the

interest of the plaintiffs.” Millman, 2004 WL 2284505, at *3. The pertinent criteria

include counsel’s experience and prior record, the stage of the proceedings, and the

nature of the claims alleged. Id. (citing 3 Herbert B. Newberg & Alba Conte,

Newberg on Class Actions § 9.35 at 388 (4th ed. 2002)); see also In re Terazosin

Hydrochloride Antitrust Litig., 220 F.R.D. 672, 702 (S.D. Fla. 2004) (the “most

persuasive” factor may be counsel’s “experience in, and knowledge of, the

applicable law in this field”). Courts may also consider the quality of the pleadings

filed. Millman, 2004 WL 2284505, at *3 (citing Dollens, 2001 WL 1543524, at *5).

      Here, Derivative Plaintiffs propose that the Court exercise its discretion to

appoint Johnson Fistel and BES as Lead Counsel. As Lead Counsel, Johnson Fistel

and BES are committed to managing the derivative claims fairly and efficiently.

      Specifically, as suggested in the Manual For Complex Litigation, and as

implemented in the attached proposed Order Consolidating Related Actions and

Appointing Lead Counsel (the “Proposed Order”), Johnson Fistel and BES would

be charged with the following representative duties as Lead Counsel in the

Consolidated Derivative Action:

      a.     to promote the orderly and efficient conduct of the Consolidated
             Derivative Action and to avoid unnecessary duplication and
             unproductive efforts;


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b.    to conduct all pretrial, trial, and post-trial proceedings;

c.    to sign all pleadings, motions, briefs, discovery requests or objections,
      subpoenas, or notices;

d.    to determine and present in motions, briefs, oral argument, or such other
      fashion as may be appropriate, as to all matters arising during pretrial,
      trial, and post-trial proceedings;

e.    to act as spokespersons for the Derivative Plaintiffs at pretrial
      conferences;

f.    to conduct or coordinate discovery on behalf of the Derivative
      Plaintiffs, consistent with the requirements of the Federal Rules of Civil
      Procedure, including the preparation of interrogatories, requests for
      production of documents, requests for admissions, and the examination
      of witnesses in depositions, as well as any motion practice related
      thereto;

g.    to enter into stipulations necessary for the conduct of the litigation with
      opposing counsel;

h.    to make all work assignments and supervise them;

i.    to monitor the activities of all counsel and to implement procedures to
      ensure that schedules are met and unnecessary expenditures of time and
      funds are avoided;

j.    to collect time and expense reports from each firm in the Consolidated
      Derivative Action, including paralegals and any other staff members
      whose time is expected to be included in any fee petition;

m.    to employ and consult with experts, if and when necessary;

n.    to call meetings among counsel when deemed appropriate;

o.    to conduct settlement negotiations with defense counsel, if and when
      appropriate;


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      p.     to ensure that the Derivative Plaintiffs and their counsel are kept
             informed of the progress of this Consolidated Derivative Action as
             necessary; and

      q.     to otherwise coordinate the work of plaintiffs’ counsel to advance the
             derivative claims in this Consolidated Derivative Action.

See Proposed Order (attached hereto); see also Manual For Complex Litigation,

§ 10.221.

      Descriptions of Johnson Fistel and BES are set forth below, and clearly

demonstrate they are qualified to lead this case. Derivative Plaintiffs respectfully

submit this designation will promote the orderly progress of this Consolidated

Derivative Action and ensure it is prosecuted in an efficient and coordinated fashion.

             1.     Relevant Factors Impacting Designation of Lead Counsel

      The Proposed Order implements the procedures suggested by the Manual For

Complex Litigation, and codified in Fed. R. Civ. P. 23(g), by designating Lead

Counsel for Derivative Plaintiffs. See Manual For Complex Litigation, §§ 10.22,

40.22. As stated in the Manual For Complex Litigation, in determining lead counsel,

the Court should “conduct an independent review [] to ensure that counsel appointed

to leading roles are qualified and responsible, that they will fairly and adequately

represent all of the parties on their side, and that their charges will be reasonable.”

Id. at § 10.22. The most important factor is “achieving efficiency and economy

without jeopardizing fairness to parties.” Id. at § 10.221.

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      With respect to the first Fed. R. Civ. P. 23(g) factor, Johnson Fistel and BES

have already taken substantial steps in prosecuting this Consolidated Derivative

Action, such as by conducting an investigation into the facts of the case, which

included, inter alia, a review of the Company’s financial statements, press releases,

SEC filings, and investor communications. Johnson Fistel and BES have each filed

a detailed and thorough complaint in pursuing the Derivative Actions on behalf of

the Company.     Based on their extensive experience in bringing and pursuing

derivative claims such as those asserted here, Johnson Fistel and BES fully

understand the substantial investment of time and resources necessary to properly

pursue and lead this Consolidated Derivative Action, and are committed to making

the necessary investment.

      Courts generally consider the second and third Fed. R. Civ. P. 23(g) factors

most important. See, e.g., In re Terazosin Hydrochloride, 220 F.R.D. at 702

(explaining that under the Fed. R. Civ. P. 23(g) context, the “most persuasive” factor

in choosing lead counsel may be proposed counsel’s “experience in, and knowledge

of, the applicable law in this field”). As demonstrated below, Johnson Fistel and

BES are uniquely qualified to serve as Lead Counsel in this Derivative Action.




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                    a.     Johnson Fistel, LLP

      Johnson Fistel has a long-standing track record of achieving excellent results

in litigation throughout the country on behalf of corporations and their shareholders.

Indeed, Johnson Fistel has a sterling reputation in the field of shareholder litigation,

with a long track record of success in derivative actions like this one and has the

resources to litigate this Consolidated Derivative Action to trial, if necessary. A

copy of Johnson Fistel’s firm resume is submitted herewith as Exhibit A.

      Because of its experience representing both shareholders and corporations,

Johnson Fistel stands apart from other plaintiffs-side securities firms in this arena.

Prior to forming his law firm in 2004, managing partner Frank Johnson was a partner

at Sheppard, Mullin, Richter & Hampton, LLP, a 750-lawyer international firm,

where he represented publicly traded companies in defending representative actions.

Ex. A at 2. This prior experience carried over into his current practice—Mr. Johnson

has been retained not only by shareholders, but also by publicly-traded companies

to pursue former directors for breaches of fiduciary duty in a number of matters.

      For example, in February 2012, Johnson Fistel filed a derivative action on

behalf of Powerwave Technologies, Inc. (“Powerwave”) in California, where the

company is based. Id. at 29. When the company went into bankruptcy, Johnson

Fistel, based upon its track record of success, was retained by the U.S. Chapter 7


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Trustee of Powerwave, and approved by the U.S. Bankruptcy Court for the District

of Delaware in In re Powerwave Technologies, Inc., Case No. 13-10134 (MFW)

(Bankr. D. Del.). Id. In that role, Johnson Fistel secured a $5.5 million settlement

for the estate, which was approved on August 12, 2015. Id.

      The Powerwave matter followed on the heels of a similar matter where the

U.S. Chapter 7 Trustee of Artes Medical, Inc. (“Artes”) in San Diego retained Mr.

Johnson to pursue claims for breach of fiduciary duty against Artes’ former officers

and directors. After years of hard-fought litigation on behalf of the estate in

bankruptcy, Mr. Johnson negotiated a $3 million settlement, which the bankruptcy

court approved. Id. at 39. In finding that “[t]here’s no question in my mind that this

settlement is in the best interest of this Estate,” the Honorable Laura S. Taylor stated

that, “I want to compliment Mr. Johnson, and I want to compliment on the successful

recovery for the Estate. The creditors thank you, and I thank you.” Id.

      Johnson Fistel’s recent successes include In Re Flowers Foods, Inc. Securities

Litigation, No. 7:16-CV-00222-WLS (M.D. Ga.), a securities class action case

alleging violations of §§10(b) and 20(a) of the Securities Exchange Act of 1934,

wherein Johnson Fistel’s client was appointed Lead Plaintiff and the firm was

appointed Lead Counsel under the Private Securities Litigation Reform Act of 1995.

A $21 million class settlement became final on January 10, 2020. At the hearing on

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final approval of the settlement, Judge W. Louis Sands expressed his satisfaction

with the settlement and offered the following commentary: “I’d also just like to

acknowledge just really the professional way you all handled this case . . . and I think

it is that type of substantial work from opposing sides that I think that is what we

look at a settlement that both sides of this case have been well represented and

represented so the Court is satisfied that it has been in the hands of people who knew

what they were doing . . . .” Id. at 16.

      Similarly, in Bagot v. Bracken, et al., Case No. 11C5133 (Tenn. Cir. Ct., 6th

Cir.), where, serving as sole Lead Counsel in a case brought against certain current

and former officers and directors of HCA Holdings, Inc. (“HCA”), the largest private

hospital chain in the country, Johnson Fistel secured a settlement which included a

payment of $19 million to the company, the appointment of a new independent

director, and implementation of significant corporate therapeutics. Id. at 35. In In

re MannKind Corporation Derivative Litig., Lead Case No. 11-cv-05003-GAF-SSx

(C.D. Cal.), after two years of litigation, Johnson Fistel was able to resolve the case

on favorable terms with the implementation of significant corporate therapeutic

changes, including the creation of a new Board-level Disclosure & Controls

Committee and significant enhancements to financial reporting requirements. Id. at

37. Yet another example includes Singh v. Hsu, Case No. 1-13-cv-243247 (Cal.

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Super. Ct., Santa Clara Cnty.), where Johnson Fistel secured a significant settlement

on behalf of Impax Laboratories, Inc. requiring the implementation of corporate

governance reforms, significantly enhancing reporting and oversight at the Board,

officer, and employee level. Id. at 38.

      Courts have also recognized Johnson Fistel’s capabilities in the context of

shareholder derivative litigation. For example, in In re Heelys, Inc. Derivative

Litigation, Case No. 3:07-CV-1682 (N.D. Tex.), Judge Kinkeade noted that the

“quality of representation by the [Johnson Fistel] was witnessed first-hand by this

Court through their articulate, high quality, and successful pleadings. Moreover, as

shown by their excellent efforts in this case, [Johnson Fistel] are dedicated to

vindicating the rights of shareholders.” Id. at 40. In Nally on behalf of 3D Systems

Corp. v. Reichental, No. 15-cv-03756-MGL, 2017 WL 1135122 (D.S.C. Mar. 27,

2017), a case in which Johnson Fistel was appointed as lead counsel in a consolidated

shareholder derivative action, Judge Lewis complimented the firm and noted that the

firm “possess[ed] extensive experience and impressive records of success in cases

similar to the Related Actions” and “ha[s] prosecuted the litigation with well-pled

and thorough pleadings.” Id. at *3.

      Recently, Johnson Fistel was appointed lead counsel in the following

shareholder derivative actions: (i) In re Twitter, Inc. Shareholder Derivative Litig.,

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No. 18-cv-62-MN (D. Del.); (ii) In re CoreCivic, Inc. Shareholder Derivative Litig.,

Lead Case No. 3:16-CV-03040 (M.D. Tenn. Dec. 21, 2016); (iii) In re United States

Steel Corporation Derivative Litig. No. 2:17-cv-01005-CB (W.D. Pa.); (iv) In re

Exxon Mobil Corporation Derivative Litig., Civil Action No. 3:19-cv-1067-K (N.D.

Tx.; (v) In re Costco S’holder Derivative Litig., No. 19-2-04824-7 (Wash. Super.

Ct., King Cnty.); (vi) In re HD Supply Holdings, Inc. Derivative Litig., No. 1:17cv-

02977-MLB (N.D. Ga.); (vii) Whitten v. Clarke, et al. (Fleetcor Technologies, Inc.

Derivative Litig.), No. 1:17-cv-02585-LMM (N.D. Ga.); (viii) In re Southern

Company S’holder Derivative Litig., No. 1:17-cv-00725-MHC (N.D. Ga.); and (ix)

In re Six Flags Entertainment Corporation Derivative Litig., Civil Action No. 4:20-

cv-00262-P (N.D. Tx.).

      These are but a few of Johnson Fistel’s most recent lead counsel appointments

and successes. In sum, Johnson Fistel possesses the financial resources, personnel,

and substantive expertise necessary to litigate the Derivative Actions vigorously and

effectively and in the best interests of Mohawk and its shareholders.

                    b.     Bragar Eagel & Squire, P.C.

      BES attorneys have decades of experience litigating shareholder derivative

lawsuits, securities class actions, merger and acquisition actions, and consumer

rights actions, obtaining well over a billion dollars in recoveries for clients and class


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members. The firm is comprised of highly-skilled litigators who have secured

excellent recoveries in shareholder derivative actions.        BES has performed

substantial work in identifying and investigating the claims in this action, and

possesses the requisite experience, knowledge, and resources required to pursue this

action to a successful conclusion. BES has the financial resources to fully prosecute

this action, as it has done in similar actions many times over. BES’s firm resume is

submitted herewith as Exhibit B and reflects the firm’s credentials and significant

experience in this regard.

      Of particular note to this litigation, BES has successfully prosecuted and tried

numerous shareholder derivative actions. For example, in In re Activision Blizzard,

Inc. Stockholder Litigation, 124 A.3d 1025 (Del. Ch. 2015), BES, as co-lead counsel,

represented investors alleging that Activision’s Chief Executive Officer and

Chairman put their own interests over those of other shareholders when an

investment vehicle they controlled bought more than $2 billion worth of stock

concurrent with Activision’s $5.8 billion equity buyback from its former majority

stakeholder. On the eve of trial, the firm secured a settlement of $275 million, by

far the largest monetary settlement in the history of the Delaware Court of Chancery

and the largest cash derivative settlement in the country. In addition, the settlement

provided significant corporate governance benefits to the class. Vice Chancellor J.

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Travis Laster stated, “Lead Counsel brought a particular blend of expertise,

initiative, and ingenuity to the case. In my view, few litigation teams could have

achieved this result against the determined, well-represented, and aggressive

adversaries that Lead Counsel faced.”

      BES, as lead counsel, also prosecuted and successfully tried claims on behalf

of El Paso Pipeline Partners, L.P., a public Master Limited Partnership, and its

unaffiliated partners against its general partner and sponsor, El Paso Corporation

(now merged into Kinder Morgan, Inc.) in In re El Paso Pipeline Partners, L.P.

Derivative Action, Case No. 7141-VCL (Del. Ch.). The claims arose out of a 2010

“drop down” of certain pipeline assets from the general partner to the partnership.

Following trial, the Court of Chancery found that the Special Committee that

recommended approval of the transaction did not form a subjective belief that the

transaction was in the best interests of the partnership and, therefore, that the general

partner breached the partnership agreement by engaging in the transaction. The

Court of Chancery found that the partnership was harmed in the amount of $171

million. On February 4, 2016, the Court of Chancery entered final judgment in favor

of the unaffiliated limited partners of El Paso Pipeline Partners, L.P., and against its

general partner in the amount of $100 million, plus pre- and post-judgment interest.




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      BES also served as co-lead counsel in two recent matters that generated

substantial benefits for the subject companies. In Mesirov v. Enbridge Energy Co.,

Inc., C.A. No. 11314-VCS (Del Ch.), BES prosecuted derivative claims which a

special committee of the Enbridge Energy Partners, L.P. board of directors valued

at $111.2 million – resulting in an increased exchange ratio for the partnership and

its public investors. In In re Third Avenue Trust Shareholder and Derivative

Litigation, C.A. No. 12184-VCL (Del. Ch.), BES negotiated a $25 million settlement

arising out of the collapse of an open-ended mutual fund.

      In sum, the experience and prior success of BES unquestionably demonstrates

the competence of the firm to lead this litigation. The firm possesses the financial

resources, personnel, and substantive expertise necessary to litigate the case

vigorously, and has served, and will continue to serve, the best interests of the

Derivative Plaintiffs and the Company while at the same time achieving the

efficiencies required by the core principles of shareholder representative litigation.




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III.   CONCLUSION

       For the foregoing reasons, Derivative Plaintiffs respectfully request that the

Court enter the attached proposed order consolidating the captioned actions and

appointing Johnson Fistel and BES as Lead Counsel for Derivative Plaintiffs.5

       Respectfully submitted this 21st day of August, 2020.
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  The parties in the Palmer Action jointly filed a Joint Motion to Stay Litigation and
[Proposed] Order on July 17, 2020, which the Court entered on July 20, 2020. See
Palmer Action, ECF Nos. 27-28. Pursuant to the Court’s Order, the Palmer Action
is currently stayed pending the earlier of (i) any of the defendants in the Related
Securities Class Action filing an answer to the operative complaint, or (ii) the
deadline for appealing a dismissal of the Related Securities Class Action with
prejudice. See Palmer Action, ECF No. 28. Upon consolidation of the Derivative
Actions, the parties agree that the consolidated action shall remain stayed under the
same terms as set forth in Court’s order in the Palmer Action. Id.
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                        RULE 7.1(D) CERTIFICATION

      The undersigned counsel certifies that this document has been prepared with

one of the font and point selections approved by the Court in Local Rule 5.1(C).

                                       /s/ Michael I. Fistel, Jr.
                                       Michael I. Fistel, Jr.




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                          CERTIFICATE OF SERVICE

      I hereby certify that on this 21st day of August, 2020, I caused a true and

correct copy of the foregoing to be filed with the Clerk of Court using the CM/ECF

system, which will automatically send notification of such filing and make available

the same to all attorneys of record.

                                        /s/ Michael I. Fistel, Jr.
                                        Michael I. Fistel, Jr.




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